     Case 1:06-cr-00086-WMS      Document 23   Filed 08/15/06   Page 1 of 1




                         UNITED STATES DISTRICT COURT

                         WESTERN DISTRICT OF NEW YORK


__________________________________

UNITED STATES OF AMERICA,

            Plaintiff,

            v.                                          ORDER

GARY MOORE, et al.,                              Criminal No. 06-CR-86S(Sr)

            Defendant..
__________________________________


            The motion hearing which was scheduled for September 13, 2006,
has been adjourned and is now scheduled for September 20, 2006, at 2:00 P.M.

             In accordance with the Second Circuit Speedy Trial Guidelines, Part
I(C)(3)(a) and (b), and upon the authority of United States v Piontek, 861 F.2d
152, 154 (7th Cir., 1988); United States v Montoya, 827 F.2d 143, 153 (7th
Cir., 1987); United States v. Wilson, 835 F2d 1440, 1444 (D.C. Cir., 1987;
United States v Tibboel, 753 F.2d 608, 610 (7th Cir., 1985); and United States
v Jodoin, 672 F.2d 232, 238 (1st Cir., 1982), the period of time from
September 14, 2006, until September 20, 2006, is excluded under18 U.S.C.
Section 3161(h)(8)(A).

            SO ORDERED.
                                           /s/ H. Kenneth Schroeder, Jr.
                                           _________________________________
                                           H. KENNETH SCHROEDER, Jr.
                                           United States Magistrate Judge


DATED:      August 14, 2006
            Buffalo, New York
